                   Case 2:04-cr-00388-MCE Document 316 Filed 07/16/14 Page 1 of 2
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                  United States District Court
                                          Eastern District of California

         UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                    v.                                                (For Revocation of Probation or Supervised Release)
                                                                      (For Offenses committed on or after November 1, 1987)
          ANGEL SANTIAGO GOMEZ
                                                                      Criminal Number: 2:04CR00388
                    (Defendant’ s Name)

                                                                      Benjamin Gallow ay, Assistant Federal Defender
                                                                      Defendant’ s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charges 1-5 as alleged in the violation petition filed on 03/12/2014.
[]  w as found in violation of condition(s) of supervision as to charge(s)    after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the follow ing violations:

Violation Number       Nature of Violation                             Date Violation Occurred
1                      Failure to Participate in Drug Testing as        05/16/2013, 07/18/2013, 12/17/2013 and
                       Directed                                         12/20/2013
2                      Failure to Participate in Drug Testing as        04/16/2013, 04/25/2013, 06/22/2013,
                       Directed                                         06/26/2013, 07/25/2013, 08/01/2013,
                                                                        08/28/2013, 02/12/2014 and 02/18/2014
3                      Unlaw ful Use of a Controlled Substance         11/14/2013, 01/08/2014 and 01/21/2014
4                      Unlaw ful Use of a Controlled Substance         01/08/2014 and 01/21/2014
5                      Failure to Notify of Change in Residence 02/07/2014

The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 12/1/2006.

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]      Charge(s)         is/are dismissed.

        Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

       IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

                                                              07/10/2014
                                                              Date of Imposition of Sentence



                                                              Signature of Judicial Officer

                                                              MORRISON C. ENGLAND, JR., United States District Judge
                                                              Name & Title of Judicial Officer

                                                              07/16/2014
                                                              Date
                   Case 2:04-cr-00388-MCE Document 316 Filed 07/16/14 Page 2 of 2
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation


                                                     IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 8 months.



[U]     No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The court makes the follow ing recommendations to the Bureau of Prisons:
        The court recommends that the defendant be incarcerated in the Colusa, California facility, but only insofar
        as this accords w ith security classification and space availability.


[U]     The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at      on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                           RETURN
I have executed this judgment as follow s:




        Defendant delivered on                                         to

at                                               , w ith a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                               By
                                                                                                Deputy U.S. Marshal
